Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 1 of 10 Page ID
                                 #:50594


  1   Beth A. Wilkinson (admitted pro hac vice)
      Brian L. Stekloff (admitted pro hac vice)
  2   Rakesh N. Kilaru (admitted pro hac vice)
      Jeremy S. Barber (admitted pro hac vice)
  3   WILKINSON STEKLOFF LLP
      2001 M Street NW, 10th Floor
  4   Washington, DC 20036
      Telephone: (202) 847-4000
  5   Facsimile: (202) 847-4005
      bwilkinson@wilkinsonstekloff.com
  6   bstekloff@wilkinsonstekloff.com
      rkilaru@wilkinsonstekloff.com
  7   jbarber@wilkinsonstekloff.com
  8    Gregg H. Levy (admitted pro hac vice)
       Derek Ludwin (admitted pro hac vice)
  9    John S. Playforth (admitted pro hac vice)
       COVINGTON & BURLING LLP
 10    One CityCenter, 850 10th Street NW
       Washington, D.C. 20001
 11    Telephone: (202) 662-6000
       Facsimile: (202) 778-5429
 12    glevy@cov.com
       dludwin@cov.com
 13    jplayforth@cov.com
 14    Counsel for Defendants National Football
       League, NFL Enterprises LLC, and the
 15    Individual NFL Clubs
 16
                                    UNITED STATES DISTRICT COURT
 17
                                 CENTRAL DISTRICT OF CALIFORNIA
 18

 19     IN RE: NATIONAL FOOTBALL                   Case No. 2:15-ml-02668−PSG (JEMx)
 20
        LEAGUE’S “SUNDAY TICKET”                   NFL DEFENDANTS’
        ANTITRUST LITIGATION                       MEMORADUM OF LAW IN
 21     ______________________________             SUPPORT OF MOTION TO
                                                   QUASH PLAINTIFFS’ TRIAL
 22                                                SUBPOENA
        THIS DOCUMENT RELATES TO:
 23
        ALL ACTIONS                                Judge: Hon. Philip S. Gutierrez
 24
                                                   Date: May 17, 2024
                                                   Time: 10:00 a.m.
 25                                                Courtroom: First Street Courthouse
 26
                                                              350 West 1st Street
                                                              Courtroom 6A
 27                                                           Los Angeles, CA 90012
 28


       Case No. 2:15-ml-02668-PSG (SKx)            NFL Defendants’ Memorandum of Law in Support of Motion
                                                   to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 2 of 10 Page ID
                                 #:50595


  1                                       INTRODUCTION
  2            Pursuant to Rule 45 of the Federal Rules of Civil Procedure, the NFL
  3   Defendants (the “NFL”) move to quash the trial subpoena (the “Subpoena”) Plaintiffs
  4   served on Hans Schroeder.
  5            Mr. Schroeder, the NFL’s Executive Vice President of Media Distribution, is
  6   plainly beyond the reach of the Court’s subpoena authority. Mr. Schroeder works and
  7   lives in New York and is therefore more than 100 miles from the Central District of
  8   California. Moreover, there is no valid argument that Mr. Schroeder regularly
  9   conducts business in Los Angeles. While that has never been the case, it certainly is
 10   not the case now given that Mr. Schroeder gave up oversight of NFL Media
 11   operations in Los Angeles almost a year ago in May 2023. Indeed, consistent with
 12   this background, in the Joint Witness List filed on January 19, 2024, Plaintiffs listed
 13   Mr. Schroeder as a “Deposition Only” witness.
 14            There is no basis to look beyond the plain text of Rule 45. But Plaintiffs may
 15   argue that some sort of extraordinary circumstances exist which compel the
 16   testimony of Mr. Schroeder at trial. That would be wrong. Both Mr. Schroeder’s
 17   immediate supervisor, Brian Rolapp (who oversees the Sunday Ticket product), and
 18   NFL Commissioner Roger Goodell will be “live” trial witnesses, and the NFL has
 19   agreed to make Mr. Rolapp available for testimony in the Plaintiffs’ case-in-
 20   chief. And Plaintiffs have over 12 hours of deposition testimony from Mr. Schroeder,
 21   the videos of which they can play at trial. Given the other trial and deposition
 22   testimony available to Plaintiffs, forcing Mr. Schroeder to travel cross-country to the
 23   trial to provide cumulative testimony would present an undue burden on Mr.
 24   Schroeder. This is yet another reason the motion to quash should be granted.
 25            Because the Subpoena violates the Federal Rules, imposes an unnecessary
 26   burden, and is not justified by any potential prejudice to Plaintiffs, it must be quashed
 27   pursuant to Rule 45(d)(3)(A).
 28
                                                  1
       Case No. 2:15-ml-02668-PSG (SKx)               NFL Defendants’ Memorandum of Law in Support of Motion
                                                      to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 3 of 10 Page ID
                                 #:50596


  1                                       BACKGROUND
  2            Mr. Schroeder is currently the NFL’s Executive Vice President of Media
  3   Distribution. Schroeder Decl. ¶ 1. He lives in Rye, New York. Id. ¶ 2. He works at
  4   the NFL’s headquarters at 345 Park Avenue, New York, New York. Id. ¶ 2. Although
  5   Mr. Schroeder previously managed the NFL’s Media team located in Los Angeles
  6   prior to May 2023, he does not currently manage that team, nor does he regularly
  7   travel to Los Angeles or California for business reasons. Schroeder Decl. ¶¶ 5–7; see
  8   also Stekloff Decl. Ex. 4 (announcing Mr. Schroeder’s new title of Executive Vice
  9   President, Media Distribution, and changing the reporting structure of David
 10   Jurenka’s Media team in Los Angeles). Mr. Schroeder does continue to oversee the
 11   NFL Network and RedZone distribution teams, which have a small presence in Los
 12   Angeles, but his role does not require travel to Los Angeles. Schroeder Decl. ¶ 7.
 13   Indeed, since taking his new role in May 2023, Mr. Schroeder has visited Los
 14   Angeles for business reasons only two times and has not made any other trips to
 15   California for business reasons. Id. ¶ 8. And even prior to May 2023, Mr. Schroeder
 16   only visited Los Angeles for business reasons approximately six times per year. Id. ¶
 17   5.
 18            In July 2022, Plaintiffs deposed Mr. Schroeder twice, both in his personal
 19   capacity and as a Rule 30(b)(6) witness. Schroeder Decl. ¶ 9. In total, Plaintiffs have
 20   over 12 hours of testimony from Mr. Schroeder. Throughout the parties’ pretrial
 21   meet-and-confers and in the Joint Witness List filed on January 19, 2024, Plaintiffs
 22   indicated that they understood that Mr. Schroeder is outside of the Court’s subpoena
 23   power.
 24            Plaintiffs’ subsequent actions confirmed that understanding. When Plaintiffs
 25   sent a draft witness list to the NFL on December 29, 2023, they included Mr.
 26   Schroeder on their “Will Call List,” and indicated the format for his testimony as
 27   “Live/Depo.” Stekloff Decl. Ex. 2. But when the NFL reminded Plaintiffs that Mr.
 28   Schroeder was outside the subpoena power, Plaintiffs did not contest this point. In an
                                                 2
       Case No. 2:15-ml-02668-PSG (SKx)              NFL Defendants’ Memorandum of Law in Support of Motion
                                                     to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 4 of 10 Page ID
                                 #:50597


  1   email to Plaintiffs, the NFL explained that it would not be calling Mr. Schroeder as
  2   a live witness, and “as there is no basis for Plaintiffs to be able to call [him] live at
  3   trial,” requested that Plaintiffs remove the “live” designation. Stekloff Decl. Ex. 3.
  4   Plaintiffs accepted that proposal, did not dispute that Plaintiffs could not call Mr.
  5   Schroeder as a live witness, instead reserving the right to call Mr. Schroeder as a live
  6   witness only “should the NFL Defendants decide to bring [him]” as a “live witness[]
  7   at trial.” Id. The parties’ final January 19, 2024 Joint Witness List thus included Mr.
  8   Schroeder as a witness for both Plaintiffs and the NFL, but by “Deposition Only.”
  9   Dkt. 1162, at 5, 23.
 10            In addition to Mr. Schroeder’s deposition testimony, the Joint Witness List
 11   also included Mr. Schroeder’s immediate supervisor, Brian Rolapp, and NFL
 12   Commissioner Roger Goodell as live witnesses. Dkt. 1162, at 5, 14, 16. As the Chief
 13   Media and Business Officer of the NFL, Mr. Rolapp oversees the Sunday Ticket
 14   product, as well as the NFL’s other television agreements, among other
 15   responsibilities. Mr. Rolapp is therefore well-situated to provide trial testimony about
 16   Sunday Ticket relevant to the claims at issue in this case. Dkt. 1162, at 5, 16.
 17   Moreover, the NFL has agreed to make Mr. Rolapp available for testimony in
 18   Plaintiffs’ case-in-chief. In addition, Plaintiffs have further indicated that they may
 19   play the video deposition testimony of up to 10 other NFL witnesses at trial. Dkt.
 20   1162, at 4–12.
 21            Since the submission of the Joint Witness List, however, Plaintiffs reversed
 22   course, and now seek to compel Mr. Schroeder’s live testimony by way of the
 23   Subpoena, served April 9, 2024. Stekloff Decl. Ex. 1.
 24                                       ARGUMENT
 25            The Court must quash Plaintiffs’ Subpoena because (i) the Subpoena seeks to
 26   require a New York resident to testify live at a trial thousands of miles away in
 27   California in violation of the Federal Rules, and (ii) the Subpoena imposes an undue
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                                                  3
       Case No. 2:15-ml-02668-PSG (SKx)               NFL Defendants’ Memorandum of Law in Support of Motion
                                                      to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 5 of 10 Page ID
                                 #:50598


  1   burden on Mr. Schroeder given that his trial testimony is cumulative of his video
  2   deposition and of other witnesses’ testimony. See Fed. R. Civ. P. 45(d)(3)(A)(ii), (iv).
  3
       I.         The Court Must Quash the Trial Subpoena, Which Purports To
  4               Require a New York Witness To Attend A California Trial.
  5            Plaintiffs’ Subpoena must be quashed because Mr. Schroeder, who lives and
  6   works in New York, is outside the subpoena power of the Court.
  7            Rule 45 sets strict geographic limits on the subpoena power. Generally, a
  8   subpoena may only command attendance at trial “within 100 miles of where the
  9   person resides, is employed, or regularly transacts business in person[.]” Fed R. Civ.
 10   P. 45(c)(1)(A). For a party’s “officer,” a subpoena may command attendance only
 11   “within the state where the person resides, is employed, or regularly transacts
 12   business in person[.]” Fed R. Civ. P. 45(c)(1)(B); see also Fed. R. Civ. P. 45(c)
 13   Advisory Committee’s Note to 2013 Amendment. “If a trial subpoena exceeds these
 14   geographical limitations, the district court ‘must quash or modify’ the subpoena.” In
 15   re Kirkland, 75 F.4th 1030, 1042 (9th Cir. 2023) (citing Fed. R. Civ. P.
 16   45(d)(3)(A)(ii); see also Guangzhou Yuchen Trading Co. v. DBest Prods. Inc., 2023
 17   WL 2626373, at *1 (C.D. Cal. Feb. 24, 2023) (“[T]here is no basis under Rule
 18   30(b)(6), Rule 45, or Rule 43 that would allow this Court to compel an unwilling
 19   corporate deponent who resides outside the Court's subpoena power to testify at
 20   trial.”).
 21            The Rule 45 inquiry focuses on whether the potential witness currently
 22   “resides, is employed, or regularly transacts business in person” in the relevant place.
 23   Fed R. Civ. P. 45(c)(1)(A), 45(c)(1)(B). The plain text of the rule confirms as much—
 24   the verbs “resides,” “is employed,” and “transacts” are all framed in the present tense.
 25   Courts therefore routinely quash subpoenas under Rule 45 if the potential witnesses
 26   “no longer live, work, or regularly conduct in-person business” within the forum
 27   state. Kirkland, 75 F.4th at 1042; see also Dennison v. Ryan, 2022 WL 3134450, at
 28   *1 (D. Ariz. Aug. 5, 2022) (granting motion to quash where potential witness had
                                                 4
       Case No. 2:15-ml-02668-PSG (SKx)              NFL Defendants’ Memorandum of Law in Support of Motion
                                                     to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 6 of 10 Page ID
                                 #:50599


  1   “[r]ecently” moved out of state and thus “is no longer a resident of, employed in, or
  2   regularly transacts business in person in Arizona”); K.S. v. Detroit Pub. Sch., 2015
  3   WL 6671560, at *1 (E.D. Mich. Nov. 2, 2015) (quashing trial subpoena of “a former
  4   Detroit resident who has relocated to New York City”).
  5            Rule 45’s geographic limits apply even where a potential trial witness was a
  6   Rule 30(b)(6) deponent, and where the company for which the employee works has
  7   business operations in the forum state. See, e.g., Great Lakes Reinsurance (UK) SE
  8   v. Herzig, 2023 WL 4406149, at *3 (S.D.N.Y. July 7, 2023) (granting motion to
  9   quash, explaining that “the inquiry under Rule 45 is directed at . . . the ‘person’ whose
 10   attendance is commanded . . . not where that person’s employer transacts business”
 11   (citation omitted)); Issagholi v. McLaren Auto., Inc., 2021 WL 4352297, at *1 (C.D.
 12   Cal. July 9, 2021) (granting motion to quash where potential witness, defendant’s
 13   employee and Rule 30(b)(6) witness, “lives in Texas, works in Texas, and does not
 14   regularly transact business in California”). Moreover, the fact that a potential witness
 15   occasionally visits the forum state for business does not suffice to bring the witness
 16   within the subpoena power. See Perez v. Progenics Pharms., Inc., 2015 WL 4111551,
 17   at *2 (S.D.N.Y. June 24, 2015) (rejecting request to compel live testimony where
 18   potential witness attended “at least quarterly” meetings in New York); Regents of
 19   Univ. of California v. Kohne, 166 F.R.D. 463, 465 (S.D. Cal. 1996) (explaining that
 20   “‘regularly’ does not mean ten times in seven years”).
 21            Unsurprisingly, federal district courts around the country consistently reject
 22   efforts to compel out-of-state witnesses to testify in violation of Rule 45. See, e.g.,
 23   Owlink Tech., Inc v. Cypress Tech. Co., Ltd., 2023 WL 4291822, at *2 (C.D. Cal.
 24   May 11, 2023) (rejecting request to compel live testimony of witness outside the
 25   subpoena power because “the Court is bound by the Federal Rules of Civil
 26   Procedure”); Great Lakes Reinsurance, 2023 WL 4406149, at *3 (similar); Legion
 27   Sys., LLC v. Valiant Glob. Def. Servs., Inc., 2023 WL 4686245, at *1 (M.D. Fla. July
 28   21, 2023) (similar).
                                                  5
       Case No. 2:15-ml-02668-PSG (SKx)               NFL Defendants’ Memorandum of Law in Support of Motion
                                                      to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 7 of 10 Page ID
                                 #:50600


  1               Here, Mr. Schroeder does not reside, work, or regularly transact business in
  2   person within the state of California, or within 100 miles of Los Angeles. Schroeder
  3   Decl. ¶¶ 2–3. Even before his change in position in May 2023, Mr. Schroeder only
  4   traveled to Los Angeles for business purposes on average six times per year. Id. ¶ 5.
  5   Thus, even before May 2023, he did not regularly conduct business in Los Angeles
  6   or California. See Perez, Inc., 2015 WL 4111551, at *2. And Mr. Schroeder has
  7   traveled to Los Angeles for business only twice since May 2023. Id. ¶ 8. Those simple
  8   geographic facts decide this motion. It is of no moment that the NFL has business
  9   operations in California, that Mr. Schroeder is a high-ranking NFL employee 1 and
 10   Rule 30(b)(6) witness, or that Mr. Schroeder used to manage certain of the NFL’s
 11   California-based business operations. See Issagholi, 2021 WL 4352297 at *1;
 12   Dennison, 2022 WL 3134450 at *1; Perez, 2015 WL 4111551 at *2. All that matters
 13   is whether Mr. Schroder currently lives, works, or regularly transacts business in
 14   person in California or within 100 miles of Los Angeles. He does not.
 15               Because Mr. Schroeder is plainly outside of the bounds of the Court’s
 16   subpoena power, the Court “must quash” the Subpoena. Fed. R. Civ. P.
 17   45(d)(3)(A)(ii).
 18

 19

 20   1
        For the purposes of this motion, whether Mr. Schroeder is considered an officer or
 21   merely an employee of the NFL is immaterial, given that he satisfies neither
      geographic condition of Rule 45(c). See Fed. R. Civ. P. 45(c); see, e.g., E.E.O.C. v.
 22   JetStream Ground Servs., Inc., 2016 WL 1178668, at *3 & n.5 (D. Colo. Mar. 28,
 23   2016) (“It is clear that, at least after the 2013 amendments, this Court is not
      authorized to compel [the witness’s] presence under Rule 45, despite the fact that he
 24   is the Vice President and co-owner of [the defendant].”). That said, the fact that Mr.
 25   Schroeder has a supervisor (Brian Rolapp) indicates he does not qualify as an
      “officer” for purposes of Rule 45, nor does his status as a high-level employee suffice.
 26   See Brighton Collectibles, Inc. v. Coldwater Creek, Inc., 2008 WL 11337254, at *2
 27   (S.D. Cal. Nov. 10, 2008) (concluding that “high-level” employee with a supervisor
      was not an officer); Stekloff Decl. Ex. 4 (noting that Mr. Schroeder “will continue to
 28   report to” Mr. Rolapp).
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          Case No. 2:15-ml-02668-PSG (SKx)              NFL Defendants’ Memorandum of Law in Support of Motion
                                                        to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 8 of 10 Page ID
                                 #:50601


  1   II.         The Trial Subpoena Imposes An Undue Burden On Mr. Schroeder And
                  Quashing The Subpoena Would Cause Plaintiffs No Prejudice.
  2

  3            Even if Mr. Schroeder were subject to the Court’s trial subpoena power, an
  4   order to quash would be appropriate here because the subpoena imposes an undue
  5   burden on Mr. Schroeder, and quashing the subpoena would not cause any prejudice
  6   to Plaintiffs.
  7            Federal Rule of Civil Procedure 45(d)(1) requires that a party issuing a
  8   subpoena “take reasonable steps to avoid imposing undue burden or expense on a
  9   person subject to the subpoena.” Rule 45 also provides that the court “must quash or
 10   modify a subpoena that . . . subjects a person to undue burden.” Fed. R. Civ. P.
 11   45(d)(3)(A)(iv).
 12            The undue burden analysis is “case specific” and requires the court to “weigh
 13   the burden to the subpoenaed party against the value of the information to the serving
 14   party.” Amini Innovation Corp. v. McFerran Home Furnishings, Inc., 300 F.R.D.
 15   406, 409 (C.D. Cal. 2014) (citations omitted). Courts have concluded that a subpoena
 16   presents an undue burden where the information sought is “cumulative or
 17   duplicative.” See McKay v. City of St. Louis, Missouri, 2018 WL 2223678, at *3
 18   (E.D. Mo. May 15, 2018). Thus, for example, where a “deposition was videotaped,”
 19   a trial subpoena that sought to compel interstate travel “impose[d] undue burden and
 20   expense.” Reddick v. Dillard Store Servs., Inc., 2010 WL 3025205, at *1 (S.D. Ill.
 21   Aug. 2, 2010).
 22            Here, the burden of requiring Mr. Schroeder to travel across the country
 23   outweighs any non-cumulative value of his potential trial testimony. Plaintiffs have
 24   approximately twelve hours of videotaped deposition testimony of Mr. Schroeder at
 25   their disposal, making the command that Mr. Schroeder travel from New York for
 26   trial an undue and unnecessary burden. Reddick, 2010 WL 2025205 at *1. In addition,
 27   Mr. Schroeder’s immediate supervisor, Mr. Rolapp, will be providing live testimony
 28   at trial, as will other high-ranking NFL officers, including the Commissioner. These
                                                 7
       Case No. 2:15-ml-02668-PSG (SKx)              NFL Defendants’ Memorandum of Law in Support of Motion
                                                     to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 9 of 10 Page ID
                                 #:50602


  1   facts not only demonstrate that there is no prejudice to Plaintiffs should Mr.
  2   Schroeder’s testimony be “Deposition Only,” but further render any trial testimony
  3   that Mr. Schroeder might give “cumulative or duplicative,” and thus unduly
  4   burdensome. McKay, 2018 WL 2223678 at *3. This provides a further, independent
  5   basis for the Court to quash the Subpoena.
  6                                       CONCLUSION
  7            For the foregoing reasons, the NFL respectfully requests that the Court quash
  8   Plaintiffs’ Subpoena commanding Mr. Schroeder’s appearance at trial.
  9

 10    Dated: April 19, 2024               Respectfully submitted,

 11                                        /s/ Brian L. Stekloff
 12
                                           Brian L. Stekloff (admitted pro hac vice)
 13                                        Beth A. Wilkinson (admitted pro hac vice)
 14                                        Rakesh N. Kilaru (admitted pro hac vice)
                                           Jeremy S. Barber (admitted pro hac vice)
 15                                        Max Warren (admitted pro hac vice)
 16                                        WILKINSON STEKLOFF LLP
                                           2001 M Street NW, 10th Floor
 17                                        Washington, DC 20036
 18                                        Telephone: (202) 847-4000
                                           Facsimile: (202) 847-4005
 19                                        bstekloff@wilkinsonstekloff.com
 20                                        bwilkinson@wilkinsonstekloff.com
                                           rkilaru@wilkinsonstekloff.com
 21                                        jbarber@wilkinsonstekloff.com
 22                                        mwarren@wilkinsonstekloff.com

 23                                        Neema T. Sahni (Bar No. 274240)
 24                                        COVINGTON & BURLING LLP
                                           1999 Avenue of the Stars
 25                                        Suite 3500
 26                                        Los Angeles, CA 90067-6045
                                           Telephone: (424) 332-4800
 27                                        Facsimile: (424) 332-4749
                                           nsahni@cov.com
 28
                                           Gregg H. Levy (admitted pro hac vice)
                                                 8
       Case No. 2:15-ml-02668-PSG (SKx)              NFL Defendants’ Memorandum of Law in Support of Motion
                                                     to Quash Plaintiffs’ Trial Subpoena
Case 2:15-ml-02668-PSG-SK Document 1294-1 Filed 04/19/24 Page 10 of 10 Page ID
                                  #:50603


  1                                       Derek Ludwin (admitted pro hac vice)
                                          John S. Playforth (admitted pro hac vice)
  2                                       COVINGTON & BURLING LLP
  3                                       One CityCenter
                                          850 Tenth Street NW
  4                                       Washington, DC 20001
  5                                       Telephone: (202) 662-6000
                                          Facsimile: (202) 662-6291
  6                                       glevy@cov.com
  7                                       dludwin@cov.com
                                          jplayforth@cov.com
  8

  9
                                          Counsel for Defendants National Football
                                          League, NFL Enterprises LLC, and the
 10                                       Individual NFL Clubs
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       Case No. 2:15-ml-02668-PSG (SKx)             NFL Defendants’ Memorandum of Law in Support of Motion
                                                    to Quash Plaintiffs’ Trial Subpoena
